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   EXHIBIT E
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  1
  2    Niel, the Niel Company, incurred in this business.
  3              Q.       So the other parties to this
  4    agreement agreed to reimburse you for your fees?
  5                       MR. HASSID:     Objection.
  6              A.       Yes, the fees incurred by this
  7    business.
  8    BY MR. SKINNER:
  9              Q.       What do you mean by "this
 10    business"?
 11              A.       Everything which has to do with the
 12    recovery of assets.
 13              Q.       Do you receive any other benefits
 14    other than the release and the reimbursement of
 15    fees under the April 2017 agreement?
 16              A.       Niel Company receives the 30% of
 17    the interest if the assets are found and 70% are
 18    received by BTA.
 19              Q.       Have you received any reimbursement
 20    of expenses under this agreement?
 21              A.       Yes.
 22              Q.       Roughly how much have you been
 23    reimbursed for your expenses?
 24              A.       €562,000.
 25              Q.       Who paid the €562,000?
